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D. Michael Lynn
State Bar I.D. No. 12736500
John Y. Bonds, III
State Bar I.D. No. 02589100
John T. Wilson, IV
State Bar I.D. No. 24033344
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ATTORNEYS FOR DEFENDANT JAMES DONDERO

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

In re:                            §                                  Case No. 19-34054
                                  §
HIGHLAND CAPITAL MANAGEMENT, L.P. §                                  Chapter 11
                                  §
    Debtor.                       §

                                   §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                   §
    Plaintiff.                     §
                                   §
v.                                 §
                                   §                                  Adversary No. 20-03190
JAMES D. DONDERO,                  §
                                   §
    Defendant.                     §


          DEFENDANT JAMES DONDERO’S OBJECTIONS AND RESPONSES
         TO DEBTOR’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

TO:      Plaintiff, by and through its attorneys of record, John A. Morris, Pachulski Stang Ziehl &
         Jones LLP, 10100 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067.

         Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, made applicable to

this proceeding through Rules 7026 and 7034 of the Federal Rules of Bankruptcy Procedure,



DEFENDANT JAMES DONDERO’S OBJECTIONS AND RESPONSES
TO DEBTOR’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS                                        PAGE 1

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Defendant James Dondero (“Defendant”) hereby serves the following objections and responses to

Debtor’s First Request for Production of Documents Directed to James Dondero (the “Request”).

Dated: December 31, 2020                    Respectfully submitted,

                                            /s/ Bryan C. Assink
                                            D. Michael Lynn
                                            State Bar I.D. No. 12736500
                                            John Y. Bonds, III
                                            State Bar I.D. No. 02589100
                                            John T. Wilson, IV
                                            State Bar I.D. No. 24033344
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                                            ATTORNEYS FOR DEFENDANT JAMES DONDERO

                               CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that, on December 31, 2020, a true and correct copy of
the foregoing document was served via email on counsel for the Plaintiff as listed below.

Jeffrey Pomerantz
John Morris
Ira Kharasch
Greg Demo
PACHULSKI STANG ZIEHL & JONES LLP
10100 Santa Monica Blvd., 13th Floor
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Email: jpomerantz@pszjlaw.com
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Email: gdemo@pszjlaw.com

                                                    /s/ Bryan C. Assink
                                                    Bryan C. Assink


DEFENDANT JAMES DONDERO’S OBJECTIONS AND RESPONSES
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                                REQUEST FOR PRODUCTION


Request No. 1: For the period November 1, 2020, to the present, all Communications between
You and Andrew Clubok.

Response: Defendant objects to this request as being overbroad and irrelevant to the relief
requested in Plaintiff’s Complaint. Defendant further objects to this request to the extent it seeks
to discover communications and documents that are confidential and/or privileged under the
attorney-client privilege, this Court’s mediation order, and/or Rule 408 of the Federal Rules of
Evidence. Defendant further objects to this request to the extent it calls for the production of
documents or communications no longer in Defendant’s possession, custody, or control.
Specifically, Defendant no longer has access to all communications and documents that may have
been exchanged during the period from November 1, 2020 through December 10, 2020.

Subject to the foregoing objections and without waiver of same, and in accordance with the Court’s
email ruling of December 28, 2020, Defendant is producing all responsive documents in his
possession, custody, or control.

Request No. 2: For the period November 1, 2020, to the present, all Documents provided to or
received from Andrew Clubok.

Response: Defendant objects to this request as being overbroad and irrelevant to the relief
requested in Plaintiff’s Complaint. Defendant further objects to this request to the extent it seeks
to discover communications and documents that are confidential and/or privileged under the
attorney-client privilege, this Court’s mediation order, and/or Rule 408 of the Federal Rules of
Evidence. Defendant further objects to this request to the extent it calls for the production of
documents or communications no longer in Defendant’s possession, custody, or control.
Specifically, Defendant no longer has access to all communications and documents that may have
been exchanged during the period from November 1, 2020 through December 10, 2020.

Subject to the foregoing objections and without waiver of same, and in accordance with the Court’s
email ruling of December 28, 2020, Defendant is producing all responsive documents in his
possession, custody, or control.

Request No. 3: All Communications between You and any person employed by the Debtor.

Response: In accordance with the Court’s email ruling of December 28, 2020, Defendant is
producing all responsive documents in his possession, custody, or control.

Request No. 4: All Documents provided to or received from any person employed by the Debtor.

Response: In accordance with the Court’s email ruling of December 28, 2020, Defendant is
producing all responsive documents in his possession, custody, or control.

Request No. 5: All Documents and Communications concerning MultiStrat.


DEFENDANT JAMES DONDERO’S OBJECTIONS AND RESPONSES
TO DEBTOR’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS                                        PAGE 3
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Response: Defendant objects to this request as being overbroad and irrelevant to the relief
requested in Plaintiff’s Complaint. Defendant further objects to this request to the extent it seeks
to discover communications and documents that are confidential and/or privileged under the
attorney-client privilege, this Court’s mediation order, and/or Rule 408 of the Federal Rules of
Evidence. Defendant further objects to this request to the extent it seeks or calls for documents or
communications concerning the allegations underlying the proof of claim filed by The Dugaboy
Investment Trust, as there is a pending proceeding through which discovery concerning those
allegations should be conducted.

Subject to the foregoing objections and without waiver of same, and in accordance with the Court’s
email ruling of December 28, 2020, Defendant is producing all responsive documents in his
possession, custody, or control.

Request No. 6: All Documents and Communications that You intended to introduce into evidence
at the Hearing.

Response: While Defendant has not at this time determined which documents and
communications, if any, he intends to introduce into evidence at the Hearing, all such responsive
documents are being produced or will be timely produced before the Hearing in accordance with
the Local Bankruptcy Rules.




DEFENDANT JAMES DONDERO’S OBJECTIONS AND RESPONSES
TO DEBTOR’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS                                        PAGE 4
